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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION

UNITED STATES OF AMERICA, et al., Case No. l:02-cv-107

Plaintiffs, Barrett, J .

Litkovitz, M.J.

vs.
BOARD OF HAMILTON COUNTY ORDER RE: REQUEST
COMMISSIONERS, et al., FOR REVIEW BY

Defendants. ROBERT BUCKNER

This matter is before the Court on the Request for Review of the denial of a Sewer
Backup (“SBU”) claim by Robert Buckner (Doc. 1024) and the response of the Metropolitan
Sewer District of Greater Cincinnati (“MSD”) (Doc. 1205). On December 20, 2017, the Court
held a hearing on Mr. Buckner’s request for review of his SBU claim. (Doc. 1208). The Court
also held a supplemental hearing on January 30, 2018 (Doc. 1226) and received a supplemental
response from MSD (Doc. 1244) and additional information from Mr. Buckner (Doc. 1245, Exs.
1-5).

Mr. Buckner’s request for review is filed under the Sewer BackupI program (formerly
known as the Water-in-Basement [WIB] Claims Process Plan) (Doc. 131, Consent Decree,
Exhibit 8). The Plan states in relevant part:

Subject to the requirements of this Plan, occupants Who incur damages as a result

of the backup of wastewater into buildings due to inadequate capacity in MSD’s

Sewer System (both the combined and the Sanitary portions) can recover those

damages This plan also provides a means for occupants to recover damages

arising from backups that are the result of MSD’s negligent maintenance,

destruction, operation or upkeep of the Sewer System. The Claims Process is not
intended to address water in buildings caused by overland flooding not emanating

 

lThe ‘“Water-In-Basement” program has been renamed the “Sewer Baclcup” program to more accurately
retlect MSD’s responsibility for sewage backups caused by inadequate capacity in MSD’s sewer system See Doc.
452 at 4; Doc. 454 at 16.

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from MSD’s Sewer System or caused by blockages in occupants’ own lateral
sewer lines.

(Id. at l). In determining the cause of SBU, MSD must exercise its good faith reasonable
engineering judgment and consider the following non-exclusive factors: amount of precipitation,
property SBU history, condition of the sewer system in the neighborhood, results of a visual
inspection of the neighborhood to look for signs of overland flooding, neighborhood SBU
history, capacity of nearby public sewer lines, and topography (Doc. 131, Consent Decree, Ex.
8 at 2). Damages arising from basement backups for which MSD is responsible are limited to
documented real and personal property. Id. Homeowners who are dissatisfied with MSD’s
disposition of a claim under the SBU program may request review of the decision by the
Magistrate Judge, whose decision is binding and not subject to any further judicial review.
(Docs. 154, 190).

As an initial matter, MSD does not dispute that Mr. Buckner’s property experienced an
SBU that is subject to the claims process under the Consent Decree. (Doc. 1205 at l). The only
issue in this case is the amount of compensation Mr. Buckner is entitled to recover for his
property loss.

Mr. Buckner is the owner of the property located at 3621 Muddy Creek Road, Cincinnati,
Ohio. On March 1, 20]7, Mr, Buckner experienced sewer backup in his basement which
resulted in damage to his personal and real property. Mr. Buckner made a claim for damages in
the amount of 5153,634.68 to MSD for the sewer backup. MSD valuated the property loss at
$45,122.13. (Doc. 1205-4). MSD offered Mr. Buckner this amount in settlement of his claim.

Mr. Buckner rejected the offer and filed this appeal.

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Subsequent to the first hearing on Mr. Buckner’s claim, MSD increased its total offer to
$51,502.81. Thereafter, MSD and Mr. Buckner settled the cleaning portion of the claim for
$20,51().64. (Doc. 1244, Ex. G). Aiier deducting the cleaning portion from the total offer, MSD
asserts Mr. Buckner is entitled to $30,992.17 in additional compensation under the SBU Claims
Process Plan. Mr. Buckner disagreed with MSD’s valuation of his claim and seeks review of
MSD’s decision by this Court.

A comprehensive list of all the items claimed by Mr. Buckner is contained in Exhibit H
to Document 1244. The list itemizes the value of the items Mr. Buckner requests and the
depreciated value offered by MSD. MSD denied or reduced compensation for items that were
not billy documented by photographs. MSD also reduced compensation for what it perceived as
duplicative or excessive costs of real property repairs.

Damages for SBU claims are determined based on the market value of personal property
as ofth date of loss (the depreciated value) and not on the original purchase price or cost of
replacement Strnctural damage to the interior of the property (e.g., flooring, drywall, critical
mechanicals) is reimbursed at the reasonable replacement value. MSD properly valuated Mr.
Buckner’s personal property at the depreciated value based on the age of the items. The Court
adopts as fair and reasonable MSD’s estimate for the items of personal and real property with the
following exceptions concerning specific items that Mr. Buckner raised questions about at the
two hearings:

ltem 398 (Clarke Contractors remodeling costs): The Court awards $17,371.25, after
deducting from the original Clark Contractors’ estimate 3724.51 for the overhead door and

hardware (which was compensated as another line item); $355.78 for a garage door opener that

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was not damaged; the excess toilet cost ($389.31 estimate less $150.00 paid by Mr. Buckner)',
and the excess vanity cost ($532.28 estimate less $200.00 actually paid by Mr. Buckner). The
Court declines MSD’s request to deny compensation for an “exterior” door and lockset/deadbolt.
The door in question is between the basement and the garage and is compensable

Items 43-48 and 52-56 (clothing items): Mr. Buckner seeks $6,314.00 in compensation
MSD valued these items at S530.00 because there were few items of clothing shown in the
photographs submitted with Mr. Buckner’s claim. MSD valued the “Bengals” players’ coats at
zero because there were no photographs to verify loss of these items. The Court has reviewed
the video evidence submitted by Mr. Buckner and finds that MSD underestimated the value of
clothing items. The Court awards $1,280.00 for lost items of clothing

ltem 64 ( framed military portraits of Mr. Buckner and his father): Mr. Buckner
submitted evidence of these items at the second hearing. (Doc. 1245, Exs. 2, 3). Although
family photographs undoubtedly have sentimental value, they have virtually no market value and
are not compensable under the SBU claims process Mr. Buckner testified that his mother had
the photographs framed and he did not know the original purchase price. The Court declines to

award compensation for these items.

ltems 153-163 §Fitz & Floyd china!: Mr. Buckner disputes MSD’s valuation of these

items and requests the eBay “buy it now” price as fair compensation for these items. MSD
asserts that Mr. Buckner has overvalued these items by using the eBay “buy it now” price
because “[a]ccording to eBay’s website, the ‘buy it now’ price is at least 30% higher than the

auction’s starting price (see http://pages.ebay.com/belp/buv/how-buv-bin.html).” (Doc. 1244 at

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2). The Court has reviewed the evidence presented and conducted its own research The Court
awards $1,201.90 for ltems 153-163.

ltems 122-152 (Cherished Teddies Collectibles): Mr. Buckner disputes MSD’s valuation
of these items and requests the eBay “buy it now” price as fair compensation for these items.
The majority of the items are listed by eBay as “new” and priced accordingly MSD has
depreciated the values provided by Mr. Buckner by 50%. After reviewing these items, the Court

determines that MSD’s valuation is fair and reasonable and awards the MSD amount for these

items.

ltem 195 §glider/sofa/table/lift top table[: Mr. Buckner presents evidence he originally

paid $1,914.99 in March 2011 for these items. (Doc. 1245, Ex. 1). MSD’s proposed depreciated
value of $900.00 is fair and reasonable Therefore, the Court awards $900.00 for this item.

ltems 17 and 18 (Bose Acoustimass 6 Series V Black Home Theater Speaker System and
Bose speaker brackets with cubes): Mr. Buckner alleges the home theater speaker system was
purchased in 2013 and the brackets were purchased in 2017 and were new. The Court awards
3339.99 for the speaker system based on the Court’s review of the parties’ submissions and its
own research of the value of a used Bose Acoustimass 6 Series V Black Home Theater Speaker
System. The Court awards $105.00 for the Bose Speaker brackets with cubes.

ltem 395 (washer and drver): Mr. Buckner presents a receipt showing these items were
purchased in 2013 at a cost of$1,368.51. (Doc. 1245, Ex. 5). MSD’s depreciated value of
$812.93 is fair and reasonable The Court awards $812.93 for these items.

Dup_licate items: The Court has factored into its award the following items that have

been duplicated on Mr. Buckner’s list:

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¢ ltem 94 (Lionel Chief 027 Train Set): This item is a duplicate of ltem 9.

¢ ltem 102 (Microsoli Windows Software): This item is a duplicate of ltem 12.

0 ltem 115 (bath towels): This item is a duplicate of ltem 194.

0 ltem 178 (phone): This item is a duplicate of Item 39.

0 ltem 185 (recliner with ottoman): This item is a duplicate of ltem 42.

0 ltem 187 (Broan bath fan): This item is a duplicate of ltem 222.

¢ ltem 267 (Avon Susie Fiberoptic Witch): This item is a duplicate of ltem 241.

ltems that have not been photographed: Mr. Buckner disputes MSD refusal to
compensate him for items listed on his claim form for which there are no photographs Mr.
Buckner explained that he had numerous individuals at his home cleaning up after the flood and,
within one day, they had removed a large number of damaged items without photographing each
item. Mr. Buckner has submitted videotapes that he alleges will verify his ownership of the
items that were not photographed and for which he is seeking compensation
Under the Consent Decree, “Damages Will be paid for losses to real and personal

property that can be documented.” (Doc. 131, Consent Decree, Ex. 8 at 2) (emphasis added). ln
view of the Consent Decree’s requirement that claimants substantiate the existence and/or extent
of their damages, the Court may not award compensation for the items listed by Mr. Buckner on
his claim form that have not been documented Based on the Court’s review of the videotapes
submitted by Mr. Buckner, many items listed on his claim form are not visible on the videotapes
and are not compensable The Court discusses specific items below:

¢ ltems 215 and 216 (“Fine Art Britto Artist Girl on Bicvcle #18/300 and Fine Art

Moulv Artist LaGrand Mandole”): Mr. Buckner requests compensation of

$3,100.00 and 81,195.00 for each of these items. Mr. Buckner presented
information about the replacement value of the items in his original claim

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submission and at the hearing (Doc. 1245, Ex. 4). MSD denied compensation as
these items were not verified by photographs The Court agrees with MSD’s
assessment and declines to award compensation for these items

Numerous Christmas items: Mr. Buckner’s claim includes a request for
compensation for hundreds of Christmas and other holiday tigurines and
decorations Where Mr. Buckner provided an eBay estimate for such items, MSD
provided a depreciated value for the items Where Mr. Buckner failed to provide
an eBay or other estimate for these items, MSD declined to assess a proposed
value. At the hearing, Mr. Buckner requested that the Court view the videotapes
he provided, which show numerous Christmas figurines and decorations, and
requested that the Court award him compensation for these items

The Court has reviewed the videotapes provided by Mr. Buckner but declines to
award him additional compensation for these items The videos indeed show
hundreds of Christmas tigurines and decorations in Mr. Buckner’s house.
However, the Court is unable to identify with any precision the additional items in
the videos for which Mr. Buckner seeks compensation. In addition, the videos
were taken on December 25 and 28, 1991, January 17, 1997, and February ]3,
2005. Mr. Buckner had filed an earlier SBU claim in July 2013, and was
compensated for numerous Christrnas figurines and decorations See Docs. 621,
636. The Court is unable to determine with any accuracy which of the Christmas
items depicted in the December 25 and 28, 1991, January 17, 1997, and February
13, 2005 videos were damaged as a result of the July 2013 SBU (and for which
Mr. Buckner received compensation) and which items Mr. Buckner possessed on
the date of the March 2017 SBU incident in this case. Any additional award
would be speculative on the Court’s part and unwarranted under the Consent

Decree.

The Court has been able to verify the following items in the photograph and video

evidence presented by Mr. Buckner and awards compensation as follows:

Item 65 (40-gallon plastic containers): $324.75 (25 containers at $12.99 each)
ltem 117 (paint gallons): $200.00 (8 gallons at $25.00 each)

Items 85 and 89 (golf clubs): $ 255.98 (12 Ping Eye 2 lrons) + $43.00 (driver)
ltem 228 (Optimus Oscillating Stand Fan): $30.79

Item 306 (stacked santas): 814.00

ltem 308 (stacked snowmen): $10.00
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¢ ltem 313 (ceramic swinging snowman): $7.50
o ltem 324 (ceramic deer with tree): 820.00
0 ltem 376 (water globe photo Easter eggs): 810.00

Mr. Buckner also seeks compensation for the loss of use of his basement and garage
(Item 402-requesting 850,000.00). While the diminution in the value of real estate is
compensable under the SBU claims program (Doc. 129 at 1 1), Mr. Buckner has requested
compensation for the remodeling costs of his basement and garage (Doc. 1244-2 at 8, Item 398).
As Mr. Buckner has requested and is being compensated for the rebuild cost of the interior of his
basement and garage (Id.; see ltem 398 above), it would be inconsistent and duplicative to also
award him compensation for the alleged loss of use of his basement and garage The Court
denies compensation in this regard.

Mr. Buckner additionally seeks compensation for an increase in his homeowner’s
insurance for one year (Item 403-requesting 8909.00) and car insurance adjustments for one year
(Item 404-requesting $202.06). Under the Consent Decree, compensation through the SBU
claims process is limited to real and personal property loss. (Doc. 131, Consent Decree, Exhibit
8 at 2; Doc. 129 at 11). The SBU claims process does not cover items such as increased
insurance premiums Therefore, the Court denies Mr. Buckner’s request for reimbursement for
ltems 403 and 4042

Finally, Mr. Buckner has submitted a packet of additional materials and items for which

he seeks compensation These items were not included in his original claim to MSD but were

 

2 Even though certain items of damages are not covered by the Consent Decree, this does not mean that homeowners
are without a remedy if they believe the damage they have suffered was caused by MSD’s negligence Homeowners
who disagree with MSD’s decision on their claim may seek relief in the state courts, as MSD advises in their
materials to consumers See http://sbu.msdgc.org/sbu/page/filing-a-claim.aspx.

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presented by Mr. Buckner to the Court at his first hearing Mr. Buckner may not bypass the
claims procedure set forth in Exhibit 8 to the Consent Decree and seek compensation from the
Court in the first instance See Doc. 131, Ex. 8. The Court declines to award compensation for
items not presented to MSD in l\/lr. Buckner’s original claim.

In conclusion, the Court awards 835,333.85 [(MSD proposed total amount of$30,992.17
minus MSD proposed amounts for ltems 398, 43-48, 52-56, 153-163, 17, 18 = $14,1 19.69) plus
the Court’s award of$l7,371.25 (Item 398) + $1,280.00 (Items 43-48, 52-56) + $1,201.90 (Items
153-163) + $339.99 (Item 17) + 8105.00 (Item 18) + 8324.75 (Item 65) + $200.00 (Item 117) +
$255.98 (Item 85) + $43.00 (Item 89) + 830.79 (Item 228) + 814.00 (Item 306) + $10.00 (Item
308) + $7.50 (Item 313) + $20.00 (Item 324) + 810.00 (Item 376)] to Mr. Buckner for the
damages sustained in this case.3

IT IS SO ORDERED.

Date; 3[¢2 [éf m /é/

Karen L. Litkovitz, Magistrate J e
United States District Court

 

3 As noted, Mr. Buckner and MSD have agreed to settle the cleaning portion of his SBU claim for $20,510.64.
Thus, the total amount that Mr. Buckner will be reimbursed by MSD on this claim will be $55,844.49.

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